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CASE NU ~/lBER: 2018€\/30029

 

Court Address: 1060 E. Second Avenue
Durango, Co|orado 81301
Telephone: (970) 247-2304

 

PLAlNTlFFS: THE DURANGO COFFEE COMPANY, a A t
Colorado corporation and THE ORIGINAL DURANGO
COFFEE COMPANY, a Colorado corporation COURT USE ONLY

V.

DEFENDANTS: THE SAN JUAN COFFEE COMPANY, a
Colorado corporation; MOOSE LAKE COMPAN|ES, |NC.,
an Arizona corporation; BACKROADS COFFEE & TEA,
|NC., a Wisconsin corporation; MlDWEST ROASTERS,
LLC, a Wisconsin limited liability company; HAYWARD
COFFEE CO., LLC, a Wisconsin limited liability
company; MATTHEW POBLOSKE, individually; SCOTT
BlAGGl, individually; TERESA PETERS, individually; and
RODNEY PETERS, individually

Submitting Attorneys: Case Number: 2018CV
Graham l\/l. Smith, #33938
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And

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CON|PLA|NT

 

 

 

P|aintiffs, The Durango Coffee Company (hereinafter referred to as “DCC" and

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“Plaintifl'”’) and The Original Durango Coffee Company by and through their attorneys,
Newbold Chapman and Geyer PC, by Graham l\/l. Smith and Kenton L. Freudenberg
hereby bring this action against the above named defendants, and Wou|d allege as to all
counts the following:

|. lNTRODUCTlON
This is an action seeking monetary damages and injunctive relief for:

(1) claims under the under the Federa| Lanham Act including infringement of
Plaintiff’s federally registered trademark “Durango Coffee Company,” unfair competitionl
and cybersquatting; such claims arise out of Defendants’ use of the confusingly similar
name and trademark “Durango Roasters” and unauthorized use of “Durango Coffee
Company,” and the domain “DurangoCoffeeCompany.com;”

(2) Defendants’ deceptive trade practices of false advertising, passing offl and
falsely or misleadingly suggesting an affiliation With Plaintiff in civil violation of the
Colorado Consumer Protection Act C.R.S. §§6-1-101, et. seq.;

(3) breach of a contract, a licensing agreement between Plaintiff and defendant
The San Juan Coffee Company;

(4) intentional interference With that contract; and,

(5) common law trademark infringement and unfair competition.

ll. JUR|SD|CT|ON AND VENUE

1. This Court has jurisdiction over Plaintiff’s federal claim pursuant to 15 U.S.C.

§1 121 and such jurisdiction is not precluded by 28 U.S.C. §1338.

2. Venue is proper in this Court pursuant to 28 U.S.C. §1391 because a

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substantial part of the events or omissions giving rise to the present claims occurred in
this district.

3. Venue is proper in this Court pursuant to C.R.C.P. 98(a) because this is, in
part, an action affecting a franchise; and pursuant to C.R.C.P. 98(c) because the
tortious acts set forth herein took place in La Plata County, Colorado.

4. This Court may exercise in personam jurisdiction over the non-resident
defendants under C.R.S. § 13-1-124 and the Due Process Clause of the Fourteenth
Amendment of the United States Constitution because the defendants have transacted
business Within the State of Colorado and because they have knowingly aimed their
tortious conduct directly at Plaintiff, a Co|orado corporation, and the harm from the
defendants’ conduct has been directly felt Within Colorado. All actions complained of
took place Within the State of Colorado.

lll. PLA|NT|FFS

5. Plaintiff The Durango Coffee Company is a closely held Colorado
corporation, Whose principal place of business is 9 Burnett Court, Durango, CO 81301.

6. Plaintiff The Original Durango Coffee Company is a closely held Colorado
corporationl Whose principal place of business is 9 Burnett Court, Durango, CO 81301.

lV. DEFENDANTS

7. On information and belief Defendant, The San Juan Coffee Company (“San
Juan”) is Colorado corporation, Whose principal place of business is 730 Main Ave,
Durangol CO 81301.

8. On information and belief Defendant l\/loose Lake Companies, lnc. (“l\/|oose

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Lake”) is an Arizona corporation, whose principal place of business is 55 W. Franklin St,
Tucson, AZ 85701.

9. On information and belief Defendant Backroads Coffee & Tea, lnc.
(“Backroads") is a Wisconsin corporation, whose principal place of business is 11964 N
Peters Road, Haywardl Wl 54843.

10. On information and belief Defendant l\/lidwest Roasters, LLC (“l\/lidwest”) is a
Wisconsin limited liability company whose principal place of business is 12050 N.
Peters Roadl Haywardl Wl 54843.

11. On information and belief Defendant Hayward Coffee Co., l_LC (“Hayward”) is
Wisconsin limited liability company whose principal place of business is 11964 N.
Peters Road, Haywardl Wl 54843.

12. On information and belief Defendant l\/latthew Pobloske (“Pobloske") is a
resident of Pima Countyl Arizona; is an owner and director of defendant San Juan; is an
ownerl CEO, presidentl and director of defendant l\/loose Lake; and is an owner and
director of defendants Backroadsl l\/lidwestl and Hayward.

13. On information and belief Defendant Scott Biaggi (“Biaggi”) is a resident of
Pima County, Arizona; is an owner and director of defendant San Juan; is an owner,
secretary, and director of defendant l\/loose Lake; and is an owner and director of
defendants Backroads, l\/lidwest and Hayward.

14. On information and belief, defendant Teresa Peters is a resident of Sawyer
County, Wisconsin.

15. On information and belief, defendants Rodney Peters is a resident of Sawyer

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County, Wisconsin.

16. On information and belief, defendants Rodney and Teresa Peters are
founders, partners and principals in defendants Backroads, l\/|idwest, and Hayward
(the “Wisconsin entities"). These entities have been involved in coffee related
businesses, including coffee roasting and coffee house services, in the geographical
area of Hayward, Wisconsin.

V. BACKGROUND AND GENERAL ALLEGAT|ONS

17. The Durango Coffee Company, began its coffee roasting and wholesale
business in 1984 as a sole proprietorship owned by Carl Rand; incorporated in 1989 as
“The Durango Coffee Company,’l and, in 2009, split into Plaintiffs “The Durango Coffee
Company" and “The Original Durango Coffee Company".

18. Plaintiff presently operates its business as a coffee roaster, wholesaler, and
retailer of high quality coffee.

19. Since its inception Plaintiff has continuously used the name “Durango Coffee
Company" publicly as a mark to identify its business and productsl both directly or
through related companies under 15 U.S.C. §1055.

20. The “Durango Coffee Company" mark (“DCC l\/lark") has become well
recognized and has been registered since November 26, 1996 on the Principal Register
of the U.S. Patent and Trademark Office as registration No. 2,018,786, (“the ‘786
registration”) attached hereto as Exhibit A and incorporated herein by this reference.

21. The “Durango Coffee Company" trademark registration has “incontestable”

status under 15 U.S.C. §1065 and is conclusive evidence of the registration of the mark,

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the validity of the mark, DCC’s ownership of the mark, and of DCC’s exclusive right to
use the mark in commerce under 15 U.S.C. §1115.

22. ln 1990, Plaintiff purchased the building at 730 l\/lain Avenue, Durango,
Colorado 81301, and expanded its business to include a retail coffee shop serving
coffee beverages using Plaintiff’s coffee, selling Plaintiff’s roasted coffee beans at retail,
and retailing specialty kitchenware. All were operated under the DCC name and mark.

23. Plaintiff adopted and used numerous distinctive identifiers for its coffees and
coffee blends includingl inter alial “Durango Blend”l “Durango Coffee Company Blend"l
“Durango Western Biend", “Durango Espresso” and “El Dorado Blend.”

24. Later, DCC relocated its coffee roasting and wholesale business to another
offsite facility in the area while continuing operation of the retail coffee shop and
kitchenware store at the 730 lVlain Avenue location.

25. in 2004, Plaintiff sold the portion of its retail and coffee shop at the 730 l\/lain
Avenue location to an individual, Tim Wheeler, who incorporated as “The San Juan
Coffee Company"_one of the defendants in this action. Pursuant to that salel by
documents dated l\/larch 4, 2004l San Juan assumed rights and obligations under a
license of the “Durango Coffee Company" mark (the “DCC License") and under a lease
of the 730 l\/lain Avenue premises

26. As detailed below, l\/lr. Wheeler is not a party to this actionl having
subsequently sold his full interest in San Juan to present individual defendants Biaggi
and Pobloske.

27. The DCC License was conditioned upon Plaintiff being the exclusive provider

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of all coffee and coffee products sold by San Juan; required that San Juan would use
the DCC l\/lark and no other conflicting marks for coffee and coffee products and coffee
house services; and that use of the DCC l\/lark by San Juan would inure to the benefit of
Plaintiff as a “related company" under 15 U.S.C. §1055.

28. The DCC License provided that San Juan could elect to terminate the
license, but that San Juan “shall provide 6 months written notice to DCC upon election
to do so."

29. For a period of approximately 11 years, while San Juan was under the
ownership and control of l\/lr. Wheeler, the parties operated under the terms of the DCC
License. Plaintiff provided all roasted coffee required by San Juan including all bulk
coffee used for the preparation of coffee beverages served by San Juan, all bulk coffee
beans sold at retail (scooped into bags by consumers from bulk bins)l and all
prepackaged roasted coffee beans sold at retai|. Sales of its coffee through San Juan
constituted a significant portion of Durango Coffee Company’s overall coffee sales.

30. During that periodl San Juan continued to operate the coffee shop publicly
under the terms of the DCC Licensel using the “Durango Coffee Company" mark on all
relevant goods and services San Juan never publicly used its own name for goods or
services San Juan promoted its licensed “Durango Coffee Company" coffee shop and
retail store via an internet website at “Cooksandcoffee.com." San Juan also acquired
the internet domain “durangocoffeecompany.com” and redirected all traffic for that
domain to the “Cooksandcoffee.com” website. San Juan established a Facebook page

under the Durango Coffee Company name and used that page for promotional

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purposes

31. ln 2015, defendants Pobloske and Biaggi purchased defendant San Juan as
an entity andl with itl assumed all of San Juan’s ongoing rights and responsibilities
under the DCC License and under the lease of the 730 lVlain Avenue property.

32. Following its acquisition by Pobloske and Biaggi, defendant San Juan
continued to operate publicly as Durango Coffee Company under the DCC License.

33. On information and belief, defendant San Juan-through defendants
Pobloske and Biaggi-entered into an agreement with defendant Teresa Peters to have
her manage San Juan and supply coffee to San Juan from one of her several defendant
entities in Wisconsin.

34. On information and belief, defendant Teresa Peters assumed the title of
“CEO” of San Juan and acquired a partial ownership interest in San Juan.

35. ln February of 2017, the various shift managers at San Juan were summoned
to a meeting to taste coffee from defendants Backroadsl l-laywardl and/or l\/lidwest to
see if that coffee tasted similar enough to Durango Coffee Company coffee for San
Juan to pass it off as Durango Coffee Company coffee.

36. Then, in l\/larch of 2017, defendants Pobloske and Biaggi called a meeting of
the San Juan staff at the retail coffee shop to inform them that San Juan would cease
purchasing coffee from Durango Coffee Company.

37. At that same meeting, Pobloske and Biaggi informed the staff that San Juan
would replace Durango Coffee Company coffee with a different coffee.

38. Finally, Pobloske and Biaggi _ also at that same meeting_ instructed the

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staff that they were not to inform San Juan’s customers that San Juan would be passing
off other coffee as Plaintiff’s coffee.

39. ln disregard of the 6 month notice requirement for elective termination in the
DCC licensel defendant Pobloske notified Plaintiff (via an email to Carl Randl also
addressed to defendants Biaggi and Peters) on or about l\/lay 15, 2017 that San Juan
would begin providing its own roasted coffee beans starting June 1, 2017, would no
longer require the license for DCC’s trademarks and would be rebranding its products
and services

40. San Juan, through Pobloske was specifically warned by a response from
Rand not to “rebrand" using a name similar to “Durango Coffee Company.”

41. San Juan, nonetheless, chose the similar name at issue here, “Durango
Roasters."

42. On or about l\/lay 16, 2017, Defendant l\/loose Lake filed an “intent to use”
applicationl No. 87452055, with the U.S. Patent and Trademark Office (“USPTO”) to
register “Durango Roasters” as a trademark for, inter alial “coffee shop” services That
application is presently under a partial refusal to register by the USPTO for being
confusingly similar to Plaintiff’s prior trademark and its ‘786 registrationl

43. On or about l\/lay 24, 2017l Defendant Biaggi filed a statement of trade name
with the State of Colorado on behalf of defendant San Juan for the trade name
“Durango Roasters" for a business described simply as “coffee shop.”

44. On or about l\/lay 31, 2017 trademark registration counsel for l\/loose Lake

was warned by counsel for Plaintiff that “Durango Roasters” would be considered to be

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an actionable infringement of the registered “Durango Coffee Company" mark.

45. On information and belief any trademark use by defendant l\/loose Lake
would be through San Juan as a “related company."

46. On information and belief, no later than June 1, 2017, San Juan began
buying and using coffee beans roasted in Wisconsin by defendant Teresa Peters and/or
one of her defendant entities and shipped to San Juan in Colorado. Those beans were
used by San Juan for all “bulk” purposes, namely coffee used for preparation of coffee
beverages and all bulk bin consumer retail sales of roasted coffee beans At the same
timel San Juan ceased buying bulk roasted beans from DCC, but continued to buy
roasted coffee beans prepackaged for consumer retail sale in bags bearing a DCC label
with the DCC mark.

47. On information and belief, at some later date during the summer of 2017,
defendant Peters and/or one of her defendant entities began also selling to San Juan,
and San Juan began reselling, coffee bean prepackaged for consumer retail purchase
in bags printed with the “Durango Roasters” name.

48. At about the same time San Juan completely ceased purchasing and
reselling any of Plaintiff’s coffee.

49. Through much of the summer of 2017 San Juan continued to operate its
business to using the name “Durango Coffee Company" at the 730 l\/lain Avenue
location and at a booth operated weekly at the “Durango Farmer’s l\/larket" (“DFl\/l"), an
agriculturally themed outdoor market promoting locally produced goods and services

50. San Juan continued to display or use “Durango Coffee Company"

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prominently on building signagel the banner displayed by San Juan at DFl\/ll throughout
the “COOKSANDCOFFEE.CO|\/l" website, on menus listing coffee beverages on bins
for bulk coffeel and on the Facebook page of San Juan. Employees continued to
answer the phone “Durango Coffee Company.ll

51. San Juan used, and continues to use, Plaintiff’s distinctive identifiers or
confusingly similar variations for coffee and coffee blends

52. On information and belief, San Juan and its business are located in Durango,
Colorado. Despite using coffee beans roasted in Wisconsinl San Juan misrepresents its
coffee as being “locally roasted." This misrepresentation was and is used on menu
boards on the San Juan website and the San Juan Facebook page.

53. At no point has San Juan taken any affirmative steps to distance itself from
the Durango Coffee Company. To the contrary, over time San Juan continued to use
“Durango Coffee Company" and “Durango Roasters” simultaneously and
interchangeably throughout its website and Facebook page.

54. The actions or omissions of the various closely held defendant legal entities
as described herein have been primarily through individual defendants Pobloske,
Biaggi, and Peters acting individually or acting in concert

55. On information and beliefl Defendant Pobloske authorizedl directed or
participated in the acts or omissions described herein of defendants San Juan, l\/loose
Lake, Backroads, l\/lidwest, and/or Hayward.

56. On information and belief, Defendant Biaggi authorized, directed, or

participated in the acts or omissions described herein of defendants San Juan, l\/loose

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Lake, Backroads, l\/lidwest, and/or Hayward.

57. On information and belief, Defendant Teresa Peters authorizedl directedl or
participated in the acts or omissions described herein of defendants San Juan, l\/loose
Lake, Backroadsl l\/lidwestl and/or Hayward.

58. On information and belief, Defendant Rodney Peters authorized, directedl or
participated in the acts or omissions described herein of defendants Backroads,
l\/lidwest, and/or Hayward.

FlRST CLAIM FOR RELlEF

Trademark lnfringement Pursuant to 15 U.S.C. §1114(Section 32 of the Lanham
Act) Confusingly Similar Mark

 

59. Plaintiff incorporates paragraphs 1 through 58 above as if set forth herein.

60. Plaintiff’s mark, “Durango Coffee Company,” is a validl protectable and
incontestable registered mark within the meaning of the Lanham Act, § 32.

61. Defendant San Juan, without the consent or authorization of Plaintiff, has
used and continues to use the name “Durango Roasters” in commerce in conjunction
with offering coffee house services and for bulk and prepackaged roasted coffee
beans. Such use is likely to cause confusion, or to cause mistake, or to deceive.

62. Defendants Backroadsl l\/lidwest, and/or Hayward. without the consent or
authorization of Plaintiff, have used and continue to use the name “Durango Roasters"
on prepackaged roasted coffee beans. Such use is likely to cause confusionl or to
cause mistake, or to deceive.

63. Plaintiff has been, and will continue to be, damaged by Defendants’

infringement of Plaintiffs’ trademark

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64. San Juan’s acts as described herein were carried out willfully and knowingly.
Plaintiff is entitled to recover from all defendants its losses along with San Juan’s profits
pursuant to 15 U.S.C. § 1117 (a). Plaintiff is further entitled to increased actual
damages pursuant to 15 U.S.C. § 1117 (a).

65. As a result of Defendants’ willful and knowing conduct in adopting its trade
name and trademark, this is an exceptional case. Plaintiff is entitled to recover from all
defendants its attorney’s fees and costs pursuant to 15 U.S.C. § 1117(a).

66. ln addition to monetary damages pursuant to 15 U.S.C. § 1116 (a) Plaintiff is
entitled to a temporary and a permanent injunction enjoining the Defendant from using a
name that is confusingly similar to Plaintiff's trademark, “Durango Coffee Company" in
conjunction with the offering or promotion of coffee house services coffee, or retail of
kitchenware.

SECOND CLA|M FOR RELlEF
Trademark infringement Under 15 U.S.C. § 1114 (Section 32 of the Lanham Act)
Unauthorized Use or Misuse of Plaintiff’s Mark

67. Plaintiff incorporates paragraphs 1 through 66 above as if set forth herein.

68. Defendant San Juanl without the consent or authorization of Plaintiff, has
used Plaintiff’s mark “Durango Coffee Company" in commerce on unauthorized goods
and/or services namelyl in conjunction with offering coffee house services selling coffee
beverages prepared with roasted coffee beans not supplied by Plaintiff, and for bulk
roasted coffee beans not supplied by Plaintiff.

69. Such use by San Juan has never been authorized by Plaintiff. Such

unauthorized use is likely to cause confusion, or to cause mistakel or to deceive.

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70. Plaintiff has been, and will continue to be, damaged by Defendants’
infringement of Plaintiff’s trademark.

71. Defendants have used Plaintiff’s mark in such unauthorized fashion willfully
and knowingly. Plaintiff is entitled to recover it losses along with Defendants’ profits
pursuant to 15 U.S.C. § 1117 (a).

72. Defendants have used Plaintiff’s mark in such unauthorized fashion willfully
and knowingly. Plaintiff is entitled to treble its actual damages pursuant to 15 U.S.C. §
1117 (a).

73. As a result of Defendants’ willful and knowing conduct in the misuse of
Plaintiff’s mark, this is an exceptional case. Plaintiff is entitled to recover its attorney’s
fees and costs pursuant to 15 U.S.C. § 1117(a).

74. ln addition to monetary damages pursuant to 15 U.S.C. § 1116 (a) Plaintiff is
entitled to a temporary and a permanent injunction enjoining the Defendants from using
“Durango Coffee Company,” or any similar mark,

TH|RD CLA|M FOR RELlEF
Unfair Competition - False Designation of Origin and False Advertising Under 15
U.S.C. § 1125 (a) (Section 43 the Lanham Act)

75. Plaintiff incorporates paragraphs 1 through 74 above as if set forth herein.

76. San Juan’s public promotion of its coffee beans in commercial advertising as
being “locally roasted” is a false designation of originl false or misleading description of
fact, or false or misleading representation of fact.

77. Such promotion is likely to cause confusion; to cause mistake; or to deceive

as to the affiliation, connection, or association of such with Plaintiff or as to the origin of

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San Juan’s goods services or commercial activities in violation of 15 U.S.C. §
1125(a)(1)(A).

78. Such promotion misrepresents the nature, characteristics qualities or
geographic origin of San Juan’s coffee shop services and or its coffee and coffee beans
in violation of 15 U.S.C. § 1125(a)(1)(B).

79. Defendants’ use of “Durango Roasters” is false or misleading and is likely to
cause confusion; to cause mistake; or to deceive as to the affiliation, connection, or
association of Defendants with Plaintiff as to the origin, sponsorship, or approval of
Defendants’ goods services or commercial activities by Plaintiff in violation of 15
U.S.C. § 1125(a)(1)(A).

80. Defendants’ misuse of “Durango Coffee Company" on unauthorized goods
and/or services is false or misleading and is likely to cause confusion; to cause mistake;
to deceive as to the affiliationl connection, or association of Defendants with Plaintiff as
to the originl sponsorship, or approval of Defendants goods services or commercial
activities by Plaintiff in violation of 15 U.S.C. § 1125(a)(1)(A).

81. Plaintiff has been, and will continue to be, damaged by Defendants’ acts
described herein.

82. San Juan’s acts as described herein were carried out willfully and knowingly.
Plaintiff is entitled to recover its losses along with San Juan’s profits pursuant to 15
U.S.C. § 1117 (a). Plaintiff is further entitled to increased actual damages pursuant to
15 U.S.C. § 1117 (a).

83. Because San Juan’s acts as described herein were carried out willfully and

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knowinglyl this is an exceptional case. Plaintiff is entitled to recover its attorney’s fees
and costs pursuant to 15 U.S.C. § 1117(a).

84. ln addition to monetary damages and pursuant to 15 U.S.C. § 1116(a),
Plaintiff is entitled to a temporary and a permanent injunction enjoining the Defendants
from falsely promoting its coffee as l‘locally roasted."

85. ln addition to monetary damages Plaintiff is entitled to a temporary and a
permanent injunction enjoining Defendants from using “Durango Roasters", “Durango
Coffee Company" or any similar marks in conjunction with promoting and/or selling their
goods and/or services

FOURTH CLAlM FOR RELlEF
Cybersquatting under 15 U.S.C. § 1125 (d)

86. Plaintiff incorporates paragraphs 1 through 85 above as if set forth herein.
87. Defendant San Juan continues to own and control the internet domain
“DurangoCoffeeCompany.com" (the “DCC Domain”) and renewed its registration of
that domain on or about December 11, 2017.

88. The domain “DurangoCoffeeCompany.com" is essentially identical to
Plaintiff's registered trademark “Durango Coffee Company" with only the addition of the
top level domain identifier “.com”

89. Defendant San Juan has no legitimate interest in the ownership or control of
the DCC Domain.

90. Upon being notified by San Juan of its intent to sever its relationship with

Plaintiff, Plaintiff demanded transfer to Plaintiff of the DCC Domain. Defendant San

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Juan, through defendant Pobloske, ignored and/or refused that demand.

91. Defendant San Juan, through defendant Pobloske, offered to sell the DCC
Domain to Plaintiff.

92. Through December 11, 2017 San Juan continued to redirect the DCC
Domain to the website of San Juan.

93. Since renewing its registration of the DCC Domain on or about December 11,
2017, San Juan has “parked" the domain, leaving it inactive and unavailable to Plaintiff
The domain displays only a message “Sorry - there's nobody home... lf you are
interested in purchasing this domain, please contact us" The contact link provided is to
email for “pobloske@gmail.com” whichl on information and beliefl is a personal email
address for defendant Pobloske.

94. Defendant San Juan, through defendant Pobloske, has demonstrated a bad-
faith intent to profit or benefit from its control of the DCC Domain by, inter alia, holding
the domain “hostage” and offering to sell it to Plaintiff; by improper domain use in
redirecting the DCC Domain to the website of San Juan; by preventing Durango Coffee
Company customers from reaching a legitimate source of Plaintiff’s coffee; and by
renewing the DCC Domain while fully aware that San Juan had no legitimate use for or
claim to the domain,

95. Plaintiff is entitled to recover its losses or statutory damages pursuant to 15
U.S.C. §1117(d).

96. Plaintiff is further entitled to an order of the Court directing transfer of the

DCC Domain to Plaintiff by San Juan, the internet Corporation for Assigned Names

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and Numbers (“lCANN”), or any other appropriate internet registrar or authority.

97. Due to the bad faith of defendants San Juan, Pobloske, Biaggi, and Peters
this is an exceptional case. Plaintiff is entitled its attorney’s fees pursuant to 15 U.S.C.
§1117(a).

FlFTH CLAlM FOR RELlEF
Deceptive Trade Practices Under Colorado Law Colorado Consumer Protection
Act, C.R.S. § 6-1-101, et seq.)

98. Plaintiff incorporates paragraphs 1 through 97 above as if fully set forth
herein.

99. Defendant San Juan has engaged in deceptive trade practices in violation of
C.R.S. § 6-1-105 by the acts of San Juan in the course of its business as described
herein.

100. ln the course of its business San Juan falsely represents and promotes that
it uses “locally roasted" coffee.

101. Such false representation is a deceptive representation or designation of
geographic origin in connection with goods and/or services of San Juan in violation of
C.R.S. § 6-1-105(d)

102. ln the course of its business Defendant San Juan has knowingly passed off
its goods and services as those of Plaintiff by using of the name “Durango Coffee
Company" on or in conjunction with the unauthorized goods and/or services of San
Juan, namely, those based upon or use coffee not roasted or provided by Plaintiff. Such

passing off is in violation of C.R.S. § 6-1-105(a).

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103. ln the course of its business Defendant San Juan has knowingly and
improperly used “Durango Coffee Company" on unauthorized goods and or services
Such use constitutes a false representation as to the source, sponsorship, approval, or
certification of San Juan’s goods and/or services in violation of C.R.S. § 6-1-105(b) and
is a false representation as to the affiliationl connection, or association of San Juan with
Plaintiff in violation of C.R.S. § 6-1-105(c).

104. San Juan’s deceptive trade practices significantly impact the public as
actual or potential consumers of the Defendants’ goods or services

105. Plaintiff, in the course of its business has been and will continue to be
injured by Defendants’ acts described herein.

106. Plaintiff is entitled to recover against Defendants its actual damages under
C.R.S. §6-1-113 (2)(a)(l) or statutory damages under C.R.S. §6-1-113(2)(a)(ll).

107. San Juan’s deceptive trade practices have been undertaken in bad faith,
thereby entitling Plaintiff to recover treble its actual damages against Defendants under
C.R.S. § 6-1-113 (2)(a)(lll).

108. Plaintiff is entitled to recover its attorney's fees and costs against
Defendants pursuant to C.R.S. § 6-1-113 (2)(b).

109. ln addition to monetary damages Plaintiff is entitled to a temporary and a
permanent injunction enjoining the Defendant engaging in its deceptive practices

SlXTH CLAlM FOR RELlEF
Breach of Contract Under Colorado Law

 

110. Plaintiff incorporates paragraphs 1 through 109 above as if set forth herein.

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111. The DCC License was executed l\/larch 4, 2004 between Plaintiff as licensor
and San Juan as licensee within the state of Colorado.

112. A primary condition of the DCC License sets forth that: “As a condition of
the grant of this License, Licensee agrees to purchase and DCC agrees to sell in such
amounts as may be requiredl all coffee and related products to be sold or served at
retail under the DCC l\/larks from DCC at published wholesale prices of DCC."

113. The DCC License further sets forth that “Licensee may elect to terminate
this license agreement and shall provide 6 months written notice to DCC upon election
to do so."

114. San Juan openly disregarded the “6 months written notice” requirement for
termination.

115. While the license was in effectl San Juan began purchasing coffee used for
its business from other sources_namely defendants Teresa Peters Rodney Peters
and/or defendants Backroads, l\/lidwestl and Hayward_in contravention of the license
agreement.

116. The DCC License further required that “Licensee shall where possible, use
the Durango Coffee Company mark as a designation of source on products and/or
services provided by licensee” and that “Licensee shall not use or sell coffee products
bearing other trademarks which might be considered directly competitive with Durango
Coffee Company products and which might tend to weaken or dilute the strength of the

Durango Coffee Company mark, or which may suggest a false affiliation with other

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providers.”

117. While the DCC License was in effect San Juan ceased using the mark
“Durango Coffee Company" for its goods and services in the manner required by the
license agreement

118. While the DCC License was in effectl San Juan began using the name
“Durango Roasters" for its goods and services in contravention of the license
agreement.

119. The acts and omissions of San Juan described herein constitute a breach of
the DCC License by San Juan.

120. Plaintiff is entitled to recover damages for such breach in an amount to be
proven at trial.

121. The DCC License further provided in part that “Should any litigation be
commenced between the parties to this Agreement, the party prevailing in such litigation
shall be entitled, to a reasonable sum as and for its attorney's fees and costs."

122. Plaintiff is entitled to recover its attorney's fees and costs pursuant to the
provisions of the DCC License agreement

SEVENTH CLAlM FOR RELlEF
intentional interference with Contractual Re|ations Under Colorado Law

123. Plaintiff incorporates paragraphs 1 through 122 above as if set forth herein.

124. The DCC License agreement San Juan and Plaintiff was inter alia, a

“requirements" contract under which San Juan was to purchase all coffee from

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Plaintiff.

125. Defendants Theresa Peters, Backroads, l\/lidwest, and/or Hayward knew or
reasonably should have known of the existence of the DCC License,

126. Defendants Theresa Peters Backroads l\/lidwest, and/or i-iayward, by
words or conduct or bothl intentionally interfered with San Juan’s performance of the
DCC License, thereby causing San Juan not to perform its obligations to Plaintiff under
the DCC License.

127. The Defendants’ interference with the DCC License was improper.

128. The Defendants’ interference with the DCC License caused loss or
damages to Plaintiff.

129. Plaintiff is entitled to recover its damages in an amount to be proven at trial.

ElGHTH CLAlM FOR RELlEF
Common Law Unfair Competition and Trademark infringement

Under Colorado Law, C.R.S. 7-70-103(2) and (3)

130. Plaintiff incorporates paragraphs 1 through 129 above as if set forth
herein.

131. By virtue of its long-term use and promotion, the Durango Coffee
Company mark has become distinctive of the goods and services of Plaintiff.

132. The use by defendants of the name “Durango Roasters” is likely to
deceive, confuse and mislead consumers and the general public.

133. The unauthorized use by defendants of “Durango Coffee Company" by
defendants is likely to deceive, confuse and mislead.

134. The use by San Juan of Plaintiff’s distinctive identifiers for coffees and
blends or use of confusingly similar variations thereof is likely to deceive, confuse and
mislead consumers and the general public.

135. The conduct of defendants constitutes unfair competition under Colorado

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law.

136. Plaintiff has been, and will continue to be, damaged by Defendants’
misuse and/or infringement of Plaintiff’s trademark

137. The conduct of defendants has been willfui, wanton or reckless in
disregard of the rights of Plaintiffl so as to justify an award of punitive damages

138. Plaintiff will suffer irreparable harm unless the continued misuse and/or
infringement of Plaintiff’s trademark is preliminarily and permanently enjoined.

WHEREFORE, Plaintiff requests that the Court award it the following relief
against all Defendants

A. Plaintiff's actual damages including Defendants’ profits and Plaintiff's
damages pursuant to 15 U.S.C. § 1117(a)l Colorado common law, and/or as set forth
by C.R.S. § 6-1-113(2)(a);

B. in the alternative, as may be appropriate, statutory damages under C.R.S. § 6-
1-113 (2)(a);

C. in the alternative, as may be appropriate, statutory damages under 15 U.S.C.
§1117(d) in the amount of $100,000;

D. Trebie Plaintiff’s damages pursuant to 15 U.S.C. § 1117 (a) and C.R.S. § 6-1-
113(2)(a)(ll|);

E. if in the event the Court should determine Plaintiff’s actual damages are not
just, then a just amount pursuant to 15 U.S.C. § 1117 (a);

F. Plaintiffs attorney's fees pursuant to 15 U.S.C. § 1117 (a), C.R.S. § 6-1-113;
and/or the provisions of the DCC License.

G. Pre-judgment and post-judgment interest;

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H. A permanent injunction pursuant to the Coiorado Consumer Protection Act
and/or 15 U.S.C. §1116 prohibiting Defendants from using on or in conjunction with its
goods or services the names “Durango Coffee Company,” “Durango Roasters,” any
name or designation that is confusingly similar to Plaintiff's trademark and trade namel
or any name which may which may falsely or misleadingly suggest an affiliation with
Plaintiff.

l. A permanent injunction pursuant to the Coiorado Consumer Protection Act
and/or 15 U.S.C. §1116 prohibiting Defendants from using any description or promotion
which might falsely or misleadingly suggest that defendants roast their coffee in their
local area.

J. An order of the Court directing transfer of the “DurangoCoffeeCompany.com”
domain to Plaintiff by San Juanl the internet Corporation for Assigned Names and
Numbers (“lCANN”), or any other appropriate internet registrar or authority.

K. An order of the Court directing express abandonment by defendant l\/loose
Lake of the “Durango Roasters" federal trademark registration applicationl No.
87452055, and/or cancellation by the USPTO of any resulting registration, as may be
appropriatel

L. Any other relief which the Court deems just and proper.

RESPECTFULLY SUBl\/llTTED this 23rd day of February, 2018.

NEWBOLD CHAP|V|AN & GEYER PC
Original signature on file at the offices of Newbold

Chapman & Geyer PC

By: /s/ Graham M. Smith

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Graham l\/l. Smith

And

Original signature on file at the offices of Kenton L.
Freudenberg

/s/ Kenton L. Freudenberq
Kenton L. Freudenberg

ATTORNEYS FOR PLA|NT|FFS

Plaintiffs’ Addresses:

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Durango, CO 81301

The Original Durango Coffee Company
9 Burnett Court
Durango, CO 81301

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